      Case 2:21-mc-01230-JFC           Document 3194        Filed 03/04/25      Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: PHILIPS RECALLED CPAP,                      )
  BI-LEVEL PAP, AND MECHANICAL                       )
  VENTILATION PRODUCTS                               ) Master Docket: Misc. No. 21-1230
  LITIGATION                                         )
                                                     )
                                                     ) MDL No. 3014
  This Document Relates to:                          )
  Gayla Graham et al. v. Respironics,                )
  Inc. et al., 2:22-cv-00224-JFC                     )

               MEMORANDUM OF PHILIPS RS NORTH AMERICA LLC
               IN OPPOSITION TO PLAINTIFFS’ MOTION FOR RELIEF
                    FROM THE DOCKET MANAGEMENT ORDER

       This Court should deny the Motion for Relief from the Docket Management Order for

Claims of Litigating Plaintiffs (ECF No. 3113; the “Motion”) filed by Plaintiffs Gayla and Robert

Graham. The Grahams do not—and cannot—establish good cause for relief from their obligations

under the Docket Management Order, ECF No. 2769 (“Docket Management Order”). Philips RS

agrees that the Grahams’ motion to remand is ripe and ready for disposition by this Court. But the

pendency of the remand motion is no basis for excusing the Grahams from their obligations to

produce the discovery relating to their claims required under the Docket Management Order.

       The Docket Management Order requires all Litigating Plaintiffs—including the Grahams,

who have apparently decided not to participate in the master personal injury settlement—to

produce “specified information regarding their claim(s).” Docket Management Order at pp. 2, 6-

11 (emphasis added). It was carefully negotiated over nine months ago and was entered by the

Court to manage in a coordinated fashion the claims of all Litigating Plaintiffs “for the purpose of

ensuring that further pretrial litigation against the Defendants in this mature MDL will progress as

smoothly and efficiently as possible.” Docket Management Order at p. 12, ¶ 20. The Grahams



                                                 1
      Case 2:21-mc-01230-JFC          Document 3194           Filed 03/04/25    Page 2 of 6




have not demonstrated the requisite “good cause” to obtain relief from the deadlines applicable to

all Litigating Plaintiffs.

        Good cause “is established when the party seeking the extension can show that the

deadlines set forth in the scheduling order cannot reasonably be met despite the diligence of the

party seeking the extension.” Faiella v. Sunbelt Rentals, Inc., 341 F.R.D. 553, 558 (D.N.J. 2022)

(citations omitted; emphasis added); see Banks v. City of Philadelphia, 309 F.R.D. 287, 290 (E.D.

Pa. 2015) (“The Rule 16(b)(4) good cause inquiry ‘focuses on the diligence of the party seeking

the modification of the scheduling order.’”); Fed. R. Civ. P. 16, Advisory Committee Note (1983)

(“[T]he court may modify the schedule on a showing of good cause if it cannot reasonably be met

despite the diligence of the party seeking the extension.”). “If the movant cannot demonstrate good

cause, the scheduling order shall control.” Faiella, 341 F.R.D. at 558 (citations omitted).

        Here, instead of showing good cause, the Grahams complain that the Docket Management

Order “sets an arduous schedule for [them] and other opt-out plaintiffs to meet without the benefit

of discovery.” Motion at 2 (emphasis added). But this argument is not compelling, and certainly

does not meet the good cause standard, for several reasons.

        First, the requirements imposed by the Docket Management Order apply equally to all

Litigating Plaintiffs—and were imposed by the Court as conditions to the claims of Litigating

Plaintiffs moving forward, and in consideration of the mature state of the MDL proceedings, and

the significant discovery of the Philips Defendants that had already taken place.

        Second, the discovery required to be produced by the Grahams and other Litigating

Plaintiffs under the Docket Management Order is not reliant on input or discovery from Philips

RS or any other Defendants. Rather, they are required to produce fundamental information within

their own custody and control “regarding their claim(s), … [their] device usage, their alleged



                                                 2
      Case 2:21-mc-01230-JFC             Document 3194     Filed 03/04/25      Page 3 of 6




injury(ies), and causation” of their injuries. Docket Management Order at p. 2; see also id. at ¶¶

12-18. Co-Lead Plaintiffs’ Counsel acknowledged this in their Response to Plaintiffs’ Motion for

Relief, ECF No. 3157 (“Response of Co-Lead Plaintiffs’ Counsel”). These requirements—

producing information about their own claims (such as medical records and proof of injuries)—

are obligations the Graham Plaintiffs should have anticipated since the time they filed their

Complaint in 2021.

       Third, even if the Graham Plaintiffs did need discovery to comply with the Docket

Management Order (they do not), they have been offered access to the extensive discovery

conducted by MDL Plaintiffs’ Leadership—including millions of pages of document production

and dozens of depositions—but, as explained by Co-Lead Plaintiffs’ Counsel, the Graham

Plaintiffs have voluntarily refused to access the substantial common benefit discovery made

available to them. See Response of Co-Lead Plaintiffs’ Counsel. Thus, their professed need for

discovery to meet their obligations under the Docket Management Order offers no excuse for

relieving them from their obligations.

       Finally, the Grahams’ pending motion to remand likewise does not constitute good cause.1

The Grahams are going to have to produce this information about their claims no matter where

their case is pending. Moreover, the Docket Management Order provided that the Court would

wait until after expiration of the Registration Deadline before addressing outstanding motions to

remand without creating any special exceptions from the Docket Management Order deadlines for

those plaintiffs seeking remand. Thus, the Graham Plaintiffs have been on notice since May 2024

that they would be held to the Docket Management Order deadlines notwithstanding any motion


       1
         For the reasons set forth the Opposition to the Graham Plaintiffs’ Motion to Remand and
Alternative Request to Sever, Civ. A. No. 22-CV-00224-JFC, ECF No. 80, the Grahams’ remand
motion should be denied.

                                                3
      Case 2:21-mc-01230-JFC            Document 3194      Filed 03/04/25      Page 4 of 6




to remand they may have filed. See Graham v. Progressive Direct Ins. Co., 271 F.R.D. 112, 119

(W.D. Pa. 2010) (denying relief from scheduling order on grounds that plaintiffs “failed to

demonstrate that they have diligently pursued” class claims reliant on “facts that were in

[p]laintiffs’ possession since the outset of th[e] litigation”); Price v. Trans Union, LLC, 737 F.

Supp. 2d 276, 280 (E.D. Pa. 2010) (where plaintiff “possessed the relevant knowledge” upon

which her proposed amendments were based before the deadline, her eight-month delay beyond

the deadline lacked good cause).

       Granting the Grahams their requested relief would also undercut the authority of the Court

to manage its own docket in the interest of the effective administration of justice and upend the

orderly process of the MDL for all Litigating Plaintiffs. See Acuna v. Brown & Root Inc., 200 F.3d

335, 340 (5th Cir. 2000) (“In the federal courts, [] orders [like the Docket Management Order] are

issued under the wide discretion afforded district judges over the management of discovery under

Fed. R. Civ. P. 16.”). Here, in an exercise of this discretion, the Court entered the Docket

Management Order “for the purpose of ensuring that further pretrial litigation against the

Defendants in this mature MDL will progress as smoothly and efficiently as possible.” Docket

Management Order at p. 1, p. 12 ¶ 20.

       The Graham Plaintiffs have articulated no good cause for the relief they seek, and their

Motion should be denied.




                                                4
  Case 2:21-mc-01230-JFC   Document 3194     Filed 03/04/25     Page 5 of 6




Dated: March 4, 2025                  Respectfully submitted,


                                      /s/ John P. Lavelle, Jr.
                                      John P. Lavelle, Jr. (PA54279)
                                      Lisa C. Dykstra (PA67271)
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      2222 Market Street
                                      Philadelphia, PA 19103-3007
                                      Tel: 215.963.5000
                                      john.lavelle@morganlewis.com
                                      lisa.dykstra@morganlewis.com

                                      Wendy West Feinstein (PA86698)
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      One Oxford Center, 32nd Floor
                                      Pittsburgh, PA 15219-6401
                                      Tel: 412.560.3300
                                      wendy.feinstein@morganlewis.com

                                      Counsel for Philips RS North America LLC




                                  5
     Case 2:21-mc-01230-JFC         Document 3194        Filed 03/04/25      Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2025, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.



                                                  /s/ John P. Lavelle, Jr.
                                                  John P. Lavelle, Jr
